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             IN THE UNITED ST ATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                      PINE BLUFF DIVISION

ROBERT WOODWARD                                              PLAINTIFF
#0452670

v.                       No. 5:19-cv-258-DPM
WENDY KELLEY, Director, ADC;
JAMES GIBSON, Warden;
DEXTER PAYNE, Deputy
Director, ADC; MAPLES,
Lieutenant; and JIM DePRIEST,
Assistant Director, ADC                                  DEFENDANTS


                            JUDGMENT
     1. Woodward's official capacity claims are dismissed with
prejudice.
     2. Woodward's individual capacity claims against Kelley,
Gibson, and DePriest are dismissed with prejudice.
     3. Woodward's individual capacity claims against Payne and
Maples are dismissed without prejudice.



                                  D .P. Marshall Jr.
                                  United States District Judge
